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 1                                                                Judge Ricardo S. Martinez
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 7
                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     The UNITED STATES of AMERICA,             )
10                                             )
                          Plaintiff,           )       No. CR06-38RSM
11                                             )
                   v.                          )
12                                             )       ORDER CONTINUING
     KAVEL MULTANI a/k/a YGURU,                )       TRIAL DATE
13   JATINDER BRAR,           )
     AMARDEEP POWAR,                           )
14   RAMAN PATHANIA,                           )
     NIZAR SABAZ-ALI,                          )
15   HARMINDER SINGH,                          )
     SANDIP PARHAR,                            )
16   STORMY WALKER,                            )
                                               )
17                           Defendants. )
18          THIS MATTER comes before the Court on the United States of America’s motion
19   to continue the trial date. Having considered the entirety of the record and files herein,
20   the Court finds that the government has acted with due diligence in seeking foreign
21   evidence from Canada as to defendant Harminder Singh, and that a failure to grant the
22   continuance would likely result in a miscarriage of justice. Due to the complexity of the
23   case, the recent disclosure of foreign evidence which the government intends to use at
24   trial against defendant Harminder Singh, and the need for continuity of counsel and
25   effective assistance of counsel, the Court overrules any objection by the defendants, and
26   finds that a continuance will allow the government and defendant Harminder Singh to
27   adequately prepare for trial.
28


                                                                                  UNITED STATES ATTORNEY
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                                                                                  Seattle, Washington 98101-1271
     Multani, et al./CR06-38RSM                                                            (206) 553-7970
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 1          The Court further finds that the interests of the public and the defendant in a
 2   speedy trial in this case are outweighed by the ends of justice.
 3          IT IS NOW, THEREFORE, ORDERED that trial is continued from September 5,
 4   2006, to October 16, 2006, and that the time between the date of this Order and the new
 5   trial date be excluded under the Speedy Trial Act pursuant to Title 18, United States
 6   Code, Sections 3161(h)(8)(A), 3161(h)(8)(B(i), and 3161(h)(B)(ii).
 7          Dated this _28_ day of August, 2006.


                                                       A
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10                                                     RICARDO S. MARTINEZ
                                                       UNITED STATES DISTRICT JUDGE
11   Presented by:
12   JOHN McKAY
13   United States Attorney

14   s/ Ye-Ting Woo
     YE-TING WOO
15   Assistant United States Attorney
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